                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF RHODE ISLAND


STATE OF ILLINOIS, et al.,

                      Plaintiffs,

   v.                                  No. 1:25-cv-206-WES-PAS

FEDERAL EMERGENCY
MANAGEMENT AGENCY, et al.,

                      Defendants.




                              EXHIBIT 21
                     Declaration of Michael Haney
  DECLARATION OF MICHAEL HANEY, COLORADO DIVISION OF HOMELAND
             SECURITY AND EMERGENCY MANAGEMENT


        I, Michael Haney, pursuant to 28 U.S.C. § 1746, hereby declare:

        I.     I am over the age of eighteen and understand the obligations of an oath.

        2.     I am the Director of the Office of Grants Management at the Colorado

Department of Public Safety's Division of Homeland Security and Emergency Management

("DHSEM"). I have held this role since January 2023. I make this declaration based on personal

knowledge and on my review of information and records gathered by agency staff.

       3.      DHSEM is a Division of the Department of Public Safety, a Colorado executive

branch state agency. DHSEM's mission is to lead and support Colorado's effort to prevent, protect,

mitigate, respond to, and recover from all hazardous events. DHSEM is responsible for

administering grants and managing homeland security and emergency management programs

throughout Colorado. As the primary grantee of the Federal Emergency Management Agency

("FEMA") in Colorado, DHSEM administers a wide range of federal programs meant to assist

states and localities in preventing and responding to catastrophic events like natural disasters,

hazardous materials events, cybersecurity incidents, terrorist attacks, and more.

        4.     FEMA administers many grant programs where States are the primary grant

recipients. DHSEM administers FEMA's annually funded preparedness grants (discussed in

Section I of this Declaration), annual prevention grants (discussed in Section II), and post-disaster

assistance grants tied to presidentially declared major disasters ( discussed in Section Ill).

       5.      As to all programs, under the structure of FEMA grant programs, DHSEM

disburses payments to vendors and sub-grantees after the funds are obligated, but before

reimbursement by FEMA.
       6.      In total, accounting for all program funds, FEMA has obligated the following

amounts to DHSEM in recent federal fiscal years:

               a.      Federal Fiscal Year ("FFY") 1 2023 annual preparedness grants (including

                       the Homeland Security Grant program, Urban Area Security Initiative,

                       Emergency Management Performance Grant Program, State and Local

                       Cybersecurity     Grant    Program,     Flood     Mitigation    Assistance):

                       $27,272,974.00.

               b.      FFY 2024 annual grants: $26,546,757.00

               c.      Public Assistance grants, covering five disasters from 2013-2023: over $2.6

                       billion.

               d.      HGMP grants, covering eight disasters: $40,970,978.05.

       7.      IfFEMA withholds funds under these grant programs, DHSEM would have to shut

down mission-critical capabilities that keep Colorado residents safe from acts of terrorism, natural

disasters, and other hazards, as discussed in more detail below.

   I. Preparedness Grants

       8.      FEMA categorizes as "preparedness grants" the grant programs discussed m

Section I of this Declaration, all of which are administered by DHSEM in Colorado.

       9.      FEMA typically releases notices of funding opportunities for preparedness grants

around April or May of the federal fiscal year for each grant in question. Once FEMA provides

a notice of funding opportunity, DHSEM can apply for an award by submitting a timely

application.




       1 Federal Fiscal Years (FFY) run October I to September 30. For example FFY 2025 runs

from October I, 2024- September 20, 2025.


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        10.     DHSEM then typically receives an award within four months of its application

(typically August or September), so that the award process is complete before the end of that

federal fiscal year.

        11.     The term of FEMA preparedness awards is generally three years, meaning that the

award remains open for a three-year period for completing reimbursable activities. Any program

activities supported by the awarded funds must be completed within the time the award remains

open.

        12.     In FFY 2023, DHSEM received at least $20,719,758.00 in preparedness grant

funding from FEMA under the grant programs discussed in this Section.

        13.     In FFY 2024, DHSEM received at least $26,546,757.00 in preparedness grant

funding from FEMA under the grant programs discussed in this Section.

Homeland Security Grant Program - State Homeland Security Program

        14.     I am familiar with the Homeland Security Grant Program, and in particular its sub-

component, the State Homeland Security Program ("SHSP"). The SHSP provides federal funding

to States to build, sustain, and deliver the capabilities necessary to prevent, prepare for, protect

against, and respond to acts of terrorism.

        15.     SHSP funding is administered in Colorado by DHSEM.

        16.     Because SHSP grants are formula grants and not competitive grants, each State is

entitled to a specific allocation whenever a notice of funding opportunity is posted.

        17.     In addition to using SHSP funds themselves, States may pass SHSP funds through

to subgrantees for the same specified purposes. DHSEM passes approximately 80% of SHSP funds

on to county     and local fire departments, law enforcement, and other first responders and

emergency preparedness offices.




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        18.    Colorado has applied for and received funds from the SHSP since its creation in the

USA PATRIOT ACT in 2001.

        19.    DHSEM has 4 open SHSP awards from FFYs 2021 to 2024:

               a.      FFY 2021: Original award of $4,602,500.00;

               b.      FFY 2022: Original award of $4,847,500.00;

               c.      FFY 2023: Original award of$4,847,500.00; and

               d.      FFY 2024: Original award of$4,362,750.00.

       20.     DHSEM intends to apply again for SHSP funds in FFY 2025.

       21.     SHSP funding directly supports several specialized Colorado Information Analysis

Cetner (CIAC) units. For example, SHSP funding supports the All Threats Intelligence Unit. This

unit     analyzes a broad spectrum of threats, including international terrorism, cyber threats,

narcotics trafficking, human trafficking, and gang-related activities. It generates actionable

intelligence reports for law enforcement, critical infrastructure providers, federal agencies, and

other partners, significantly enhancing threat-awareness and preparedness across Colorado.

       22.     SHSP funds are also the sole source of funding for the "All-Hazards Regions"

program in Colorado. This program is focused on terrorism prevention, and SHSP funds are used

for planning, organizing, equipping, training, and exercising. Without this funding, all areas of the

State will be more vulnerable to terrorist attacks.

Homeland Security Grant Program - Urban Area Security Initiative

       23.     I am familiar with the Homeland Security Grant Program, and in particular its sub-

component the Urban Area Security Initiative ("UASI"). UASI serves many of the same overall

purposes as the SHSP, but it focuses its resources on high-threat, high-density urban areas. FEMA

determines the eligible urban areas through an analysis of relative risk of terrorism faced by the

l 00 most populous metropolitan statistical areas in the United States.


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        24.    UASI funding is administered in Colorado by DHSEM.

        25.    Because UASI grants are formula grants and not competitive grants, eligible States

are entitled to a specific allocation whenever a notice of funding opportunity is posted, tied to the

FEMA-designated eligible urban area or areas in that State.

        26.    Colorado has one eligible high-threat, high-density urban area, the Denver

metropolitan statistical area. DHSEM passes approximately 80% of UASI funds on to fire

departments, law enforcement, other first responders, and emergency preparedness offices in the

greater Denver area.

        27.    Colorado has applied for and received funds from UASI since the program was

created by appropriations statute in 2003.

        28.    DHSEM has four open UASI awards from FFY s 2021 to 2024:

               a.      FFY 2021: Original award of $3,900,000.00;

               b.      FFY 2022: Original award of $3,900,000.00;

               c.      FFY 2023: Original award of$3,900,000.00; and

               d.      FFY 2024: Original award of $3,500,484.00.

        29.    DHSEM intends to apply again for UASI funds in FFY 2025.

        30.    UASI provides additional funding for the same services discussed above with

regard to the SHSP, with a particular focus on sub-grantee agencies in the Denver area. See supra

,i,i 21-22.   OHS and FEMA set the same funding priorities for FFY 2024 UASI funds that were

set for FFY 2024 SHSP funds.

        31.    UASI monies provide critical funding for the following entities:

               a.      Local Governments/Municipalities: Denver, Westminster, Clear Creek

                       County, Lafayette, Littleton, Thornton, Aurora, Greenwood Village,




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              Arapahoe County, Bennett, Broomfield, Douglas County, Boulder County,

              Arvada, Lakewood, Englewood, Erie, Wheat Ridge.

       b.     Emergency Services/Districts: South Metro Fire, Adams & Jefferson

              HazMat, Denver Fire, West Metro Fire, North Metro Fire, Arvada Fire.

       c.     Law Enforcement/Public Safety: Denver Police Department, Arapahoe

              County Bomb Squad, Douglas County Bomb Squad, Boulder County Bomb

              Squad, Boulder County Hazardous Materials team, Wheat Ridge Police

              Department.

       d.     Educational Institutions: Adams 12 School District, St. Vrain Valley

              School District, Aurora Public Schools.

       e.     Regional Organizationsffeams: UASI Regional Search and Rescue.

       f.     Healthcare/Public Health: Denver Health (hospital), Denver Public

              Health & Environment (city agency).

       g.     Other: Denver Zoo, Aurora Water (water and sanitation district), 17th

              Judicial District

       32.    In addition, DHSEM retains about 20% of UASI funds to provide similar

support to the Denver metropolitan statistical area directly. UASI funding specifically

enhances the CIAC capabilities within high-risk urban areas, particularly through the

Cyber Unit. This unit delivers critical services including cybersecurity vulnerability

assessments, security-awareness training, and cyber-incident response support to local

governments and essential infrastructure partners. Additionally, UASI supports the CIAC's

Watch Center operations, ensuring continuous, real-time monitoring and dissemination of




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       critical threat information. Without this funding, the Denver metropolitan region would be

       significantly more vulnerable to cybersecurity threats.

Emergency Management Performance Grant Program

        33.     I am familiar with the Emergency Management Performance Grant Program

("EMPG"). EMPG provides federal funding to States to provide funds to assist state, local, tribal,

and territorial emergency management agencies implement FEMA's National Preparedness

System, including by building continuity-of-government capabilities to ensure essential functions

in a catastrophic disaster.

        34.     EMPG funding is administered in Colorado by DHSEM.

        35.     Because EMPG grants are formula grants and not competitive grants, each State is

entitled to a specific allocation whenever a notice of funding opportunity is posted.

        36.     In addition to using EMPG funds themselves, States may pass EMPG funds through

to subgrantees for the same specified purposes. DHSEM passes approximately 51 % of EMPG

funds on to county and local fire departments, law enforcement, and other first responders and

emergency preparedness offices.

        37.     Colorado has applied for and received funds from EMPG since it was codified in

the Post-Katrina Emergency Management Reform Act of 2006.

        38.     DHSEM has two open EMPG awards from FFYs 2023 and 2024:

                a.      FFY 2023: Original award of$6,355,283.00;        ; and

                b.      FFY 2024: Original award of$5,725,277.00.

        39.     DHSEM intends to apply again for EMPG funds in FFY 2025.

        40.     EMPG dollars fund the salaries of DHSEM operations personnel. Operations

personnel lead statewide coordination efforts in response to a disaster or mass casualty event. The

EMPG program also funds DHSEM communications, facilities, and vehicles for disaster response.


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        41.     The amounts passed through to localities under the EMPG program likewise fund

the salaries of local emergency managers and local support staff across Colorado as well as

software and communications to support local emergency response. Without these funds, local

jurisdictions will not have sufficient funding support to build emergency management programs,

operations plans, and exercise plans that contribute to resiliency and preparedness.

I.      Nonprofit Security Grant Program

        42.     I am familiar with the Nonprofit Security Grant Program (NSGP). NSGP grants

provide federal funding to States to help nonprofits in those States increase the physical security

of their facilities at risk of a terrorist or other extremist attack.

        43.     NSGP funding is administered in Colorado by DHSEM.

        44.     Most NSGP grants are formula grants and not competitive grants, with each State

is entitled to a specific allocation whenever a notice of funding opportunity is posted. Additional

high-risk urban area funding is available on a competitive basis.

        45.     Eligible nonprofit organizations submit an application to DHSEM, describing the

nature of the threats they face, and then DHSEM applies to FEMA for NSGP funds on behalf of

the eligible nonprofit organizations.

        46.     Colorado has applied for and received NSGP funds since the program was created

by legislative appropriation in 2004.

        47.     DHSEM has four open NSGP awards from FFYs 2021 to 2024:

                a.       FFY 2021: Original award of $1,087,345.00;

                b.       FFY 2022: Original award of$3,167,707.00;

                c.       FFY 2023: Original award of $5,616,975.00; and

                d.       FFY 2024: Original award of $8,114,648.00.




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          48.   The NSGP provides funding support for target hardening and other physical

security enhancements and activities to nonprofit organizations that are at high risk of terrorist

attack.

          49.   Organizations in Colorado receiving this crucial funding include:

                a.     Religious Organizations: Annunciation Catholic Church, Arvada Central

                       Baptist Church dba The Rising, Assumption of the Blessed Virgin Mary

                       Catholic Parish in Denver, Augustana Lutheran Church, Beth Jacob High

                       School of Denver, Beth Medrosh Hagodol Congregation, Blessed

                       Sacrament Catholic Church, Cathedral Basilica of the Immaculate

                       Conception, Chabad Center at University of Colorado, Chabad of Colorado

                       Springs Jewish Community, Chabad of Downtown, Inc. formally known as

                       Jewish In The City, Colorado Baptist General Convention, dba Ponderosa

                       Retreat and Conference Center, Colorado Christian Fellowship, Inc,

                       Colorado Muslim Society, Congregation B'nai Chaim, Congregation Beth

                       Evergreen, Congregation Bonai Shalom, Boulder, Congregation Emanuel,

                       Congregation Har Shalom, Congregation Hebrew Education Alliance, DAT

                       Minyan, Inc., Guardian Angels Catholic Church and School, Holy Ghost

                       Catholic Parish in Denver, Holy Rosary Catholic Parish in Denver, Jewish

                       Community Center Grand Junction, Jewish Community Center of Denver,

                       Jewish Life Center, Jordan Chapel AME Church, Life Pointe Church,

                       Monument Presbyterian Church, New Life Church, Or Hadash of Northern

                       Colorado, Inc. dba Temple Or Hadash, Our Father Lutheran Church, Our

                       Saviour's Lutheran Church (OSLC), Peak City Church, Pikes Peak




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     Metropolitan Community Church (PPMCC), Presbyterian Community

     Church of the Rockies, Pulpit Rock Church, Radiant Church - Assemblies

     of God, Rocky Mountain Islamic Center, Saint Elizabeth of Hungary

     Catholic Church, Saint John Vianney Theological Seminary, Saint Mark

     Coptic Orthodox Church of Colorado, South Holly Baptist Church, South

     Suburban Christian Church (SSC), St. Anthony of Padua Catholic Parish in

     Denver, St. Bernadette Catholic Parish in Lakewood, St. Clare of Assisi

     Catholic Parish In Edwards, St. Francis Center, St. James Catholic School,

     St. Mary Catholic Church, St. Mary Catholic Parish (and School), St. Mary

     Magdalene Catholic Parish in Denver, St. Therese Catholic School, St.

     Timothy's Episcopal Church, Sunridge Congregation of Jehovah's

     Witnesses, Temple Beit Torah, Temple Shalom, Temple Sinai, The

     Archdiocese of Denver (AOD) Pastoral Center, The Church of Christ the

     King, The Church of St. Michael The Archangel, The Islamic Center of Fort

     Collins Inc, The Jewish Resource Center - Chabad of Aspen, The Saint John

     Paul II Center for the New Evangelization, Timberline Church, United

     Hebrew Center, United Methodist Church of Estes Park, United Methodist

     Church of Steamboat Springs, OBA Heart of Steamboat United Methodist

     Church, Westminster Presbyterian Church, Woodmen Valley Chapel,

     Yeshiva Taras Chaim Talmudical Seminary-Denver

b.   Educational Institutions: Miguel Pro Catholic Academy, Inc., Denver

     Academy of Torah, Denver Jewish Day School, Divine Redeemer Catholic

     School, Kohelet
               c.      Healthcare & Medical Centers: Arkansas Valley Regional Medical

                       Center, Shalom Park, Southeast Colorado Hospital District, UCHealth

                       Northern Colorado Foundation, UCHealth - Parkview Pueblo West

                       Emergency Services, UCHealth - Poudre Valley Hospital, UCHealth -

                       Memorial Central/North Hospital

               d.      Community & Social Services: CU Boulder Hillel Foundation,

                       Community Center of the Bukharian Jews of Colorado, Holy Spirit

                       Association for the Unification of World Christianity of Colorado, Jewish

                       Family Service of Colorado, Inc, The Salvation Army, a California

                       Corporation, United States Space Foundation, YMCA of the Rockies

               e.      Youth Services: Black Canyon Boys and Girls Club, Boys & Girls Club of

                       the Pikes Peak Region, Boys and Girls Clubs of Larimer County, Boys and

                       Girls Clubs of Northwest Colorado, Boys and Girls Clubs of San Luis

                       Valley, Boys and Girls Clubs of Weld County, Girl Scouts of Colorado,

                       Ramah in the Rockies

               f.      Housing Services: Allied Housing Inc DBA Kavod Senior Life, Partners in

                       Housing

State and Local Cybersecurity Grant Program

       50.     I am familiar with the State and Local Cybersecurity Grant Program ("SLCGP'').

SLCGP provides federal funding to States to manage and reduce systemic cyber risk.

       51.     SLCGP funding is administered in Colorado by DHSEM.

       52.     Because SLCGP grants are formula grants and not competitive grants, each State

is entitled to a specific allocation whenever a notice of funding opportunity is posted.




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       53.     In addition to using SLCGP funds themselves, States may pass SLCGP funds

through to subgrantees for the same purposes. DHSEM passes all of its SLCGP funds on to a sub-

grantee. the Colorado Office of Information Technology, which in turn passes the funds entirely

on to units of local government in Colorado.

       54.     Colorado has applied for and received funds from SLCGP since it was created as

part of the 2021 Infrastructure Investment and Jobs Act. At this time, DHSEM has three open

SLCGP awards from FFYs 2022 to 2024:

               a.      FFY 2022: Original award of $3,223,245.00;

               b.      FFY 2023: Original award of$6,553,216.00; and

               c.      FFY 2024: Original award of $4,843,598.00.

       55.     DHSEM intends to apply again for SLCGP funds in FFY 2025.

       56.     SLCGP funds help local governments strengthen their cyber defenses, improve

incident response capabilities, and protect critical infrastructure from evolving cyber threats. The

overall goal of the program is to enable state and local governments to take decisive steps to

modernize their approach to cybersecurity.

       57.     For example, SLCGP funds are meant to develop (1) endpoint detection and

response capabilities and (2) ongoing penetration testing programs. Endpoint detection refers to

software that can continuously monitor the activities on all physical devices connected to a

network and detect threats as early as possible. Penetration testing refers to hiring cyber-security

experts to attempt to break into a computer network to identify vulnerabilities before an attack

happens. Many local governments currently lack these core capabilities essential to maintain

cybersecurity in an increasingly dangerous environment.




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    II. Other Annual Grants

        58.     DHSEM also serves as the state recipient for additional FEMA programs that, like

the preparedness grants, operate on an annual funding model.

Flood Mitigation Assistance

        59.    1 am familiar with Flood Mitigation Assistance ("FMA"). FMA provides financial

assistance in the form of grants for planning and carrying out activities designed to reduce the risk

of flood damage to structures covered under contracts for flood insurance w ith the National Flood

Insurance Program, with a focus on eliminating the risk of repetitive flood damage.

       60.     FMA funding is administered in Colorado by DHSEM.

       61.     FMA grants are awarded on a competitive basis to specific sub-applicants, which

are generally units of local government. Units of local government present flood mitigation plans

to DHSEM, which DHSEM reviews and presents in one combined application to FEMA. FEMA

then makes awards based on DHSEM's ranking of the projects, project eligibility, and cost-

effectiveness of the projects.

       62.     Colorado has applied for and received FMA funds since its creation in the National

Flood Insurance Reform Act of 1994.

       63.     DHSEM has one open FMA award from FFY 2020:

               a.      FFY 2020: Original award of $451,600.00.

       64.     Investments in flood mitigation help to significantly minimize the risk of flooding

and the severity of the impacts from flood events, which can reduce the need for state or federal

disaster declarations and recovery costs.

       65.     FMA funds help units of local government to build planning and management

capacity and to undertake both localized and individual flood mitigation projects. Localized

projects include drainage pipes, pump stations, and grading, to reduce flood risk in a localized


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area. Individual flood mitigation operates at the property level, for instance by allowing local

governments to acquire flood-prone properties so that the owners can relocate.

       66.     In Colorado, a current project is related to funding a mitigation plan for the Town

of Estes Park. The Town regularly deals with significant flooding which has been exacerbated by

recent wildfires and the resultant burn scars. This plan will help protect critical infrastructure and

lives if in the Town.

   Ill. Post-Disaster Public Assistance Programs

       67.     A number of FEMA grant programs are tied not to an annual application process

but rather to the presidential declaration of a major disaster under the Stafford Disaster Relief and

Emergency Assistance Act. Typically, a State's governor sends a request for a disaster declaration

to FEMA, and the President then either grants or denies the request. The President can also declare

a major disaster without a governor's request.

       68.     Five major disasters declared by the President in Colorado have active or pending

FEMA awards at this time, listed according to the major disaster declaration number ("DR"):

               a.       DR-4145: The disaster declaration for the 2013 floods. The largest natural

                        disaster in state history, which lasted for the period of September 11, 2013-

                        September 30, 2013;

               b.       DR-4498: The disaster declaration for the COVID-19 pandemic, which

                        lasted for the period January 20, 2020 to May 11, 2023;

               c.       DR-4581: Multiple catastrophic wildfires, including the Cameron Peak and

                        East Troublesome Wildfires, that took place in Grand and Larimer counties

                        between September 6, 2020 and November 5, 2020;




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               d.     DR-4634: The Marshall Fire, wildfires and straight-line winds that

                      destroyed over a thousand homes in Boulder County between December 30,

                      2021 and January 7, 2022; and

               e.     DR-4731: Severe storms, flooding, and tornadoes that took place across

                      eastern Colorado between June 8, 2023 and June 23, 2023.

       69.     FEMA provides critical funding for Colorado communities to recover after a major

disaster through a number of programs, including those discussed below. As shown by the above

list, major disasters can arise from storm activity that typically intensifies during the upcoming

summer months.

       70.     In total, as to the five major disasters above, FEMA has obligated over $2.6 billion

in federal funds to help Colorado communities recover from these devastating events.

Public Assistance Program

       71.     I am familiar with the Public Assistance Program. After the President makes a

major disaster declaration, the Public Assistance Program provides federal funding to States and

other eligible recipients to help communities pay for emergency work in the immediate aftermath

of a disaster and also to complete more long-term recovery work.

       72.     After a major disaster, DHSEM, as the state recipient for Public Assistance funds,

develops a list of impacts that the disaster has had on Colorado. FEMA and DHSEM work to

develop detailed damage descriptions, which ultimately become the basis on which FEMA

determines the amount of funding that will be made available.

       73.     FEMA awards funds based on the validated cost of the scope of work developed by

DHSEM and approved by FEMA. Typically, FEMA will then cover 75% of the eligible costs,

with the state recipient responsible for the remaining 25%.




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       74.     In addition to using Public Assistance funds themselves, States may pass Public

Assistance funds through to subgrantees as part of the approved scope of work.

       75.     By following the above process, Colorado has obtained an allocation of Public

Assistance funds every time the President has approved a major disaster in Colorado.

       76.     DHSEM has 5 open Public Assistance awards:

               a.      DR-4145: Award amount of $370,745,201.49;

               b.      DR-4498: Original award of$2,171,120,193.07;

               c.      DR-4581: Original award of $40,647,535.15;

               d.      DR-4634: Original award of $52,592,294.27; and

               e.      DR-4731: Original award of$ 18,026,620.75.

       77.     DHSEM intends to apply again for Public Assistance funds whenever there is an

eligible major disaster affecting Colorado, which could happen at any time.

       78.     Public Assistance funding provides crucial immediate support for Colorado

communities after presidentially declared major disasters. The allowable emergency work

immediately after a disaster includes extraordinary life-saving measures like search and rescue and

distribution of food aid, as well as debris removal. In the longer term, Public Assistance funds

"permanent work," which refers to efforts to repair eligible roads, bridges, water control facilities,

buildings and equipment, utilities, ports, recreational areas, and other physical infrastructure.

       79.     In Colorado, the Public Assistance Program has proven indispensable, helping

communities save lives, recover faster, and rebuild stronger and more resilient systems in the face

of devastation. The FEMA Public Assistance (PA) grant program provides unique and essential

benefits for comprehensive community recovery that cannot be replicated by other sources. The

PA program serves as the primary federal mechanism enabling communities to not just repair, but




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often significantly improve, their public infrastructure and restore essential services following a

major disaster.

                  a.   The key benefits realized through the PA program include:

                       b.     Restoration of Critical Services: PA funding is instrumental in

                       rapidly repairing and restoring essential public infrastructure - such as

                       roads, bridges, power grids, water treatment and distribution systems,

                       communication networks, hospitals, and emergency response facilities.

                       This restoration is foundational for public health, safety, and the basic

                       functioning of the community.

                       c.     Facilitation of Economic Recovery: By rebuilding the infrastructure

                       backbone, PA grants enable local economies to recover more effectively.

                       Functioning roads, utilities, and public facilities allow businesses to reopen,

                       maintain operations, preserve jobs, and restore the local tax base - all vital

                       components of long-term economic health.

                       d.     Enhanced Community Resilience: A significant benefit of the PA

                       program is the integration of Section 406 hazard mitigation funding. This

                       allows communities to rebuild damaged infrastructure not just to pre-

                       disaster conditions, but often to higher standards incorporating resilience

                       measures against future hazards. This investment reduces future

                       vulnerability, minimizes damage in subsequent events, and ultimately

                       lowers long-term recovery costs for both the community and federal

                       taxpayers.




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e.     Significant Financial Leverage: PA grants typically cover at least

75% of eligible costs, providing substantial financial leverage that allows

state, tribal, and local governments to undertake necessary, large-scale

infrastructure projects that would otherwise be fiscally impossible. This is

particularly crucial for rural communities which, as documented by GAO

and other research, often have limited local revenue streams and borrowing

capacity to address multi-million-dollar infrastructure needs post-disaster.

For these communities, PA is often the sole pathway to achieving resilient

infrastructure and restoring vital services.

f.     Support for Community Stability: The visible progress enabled by

PA-funded reconstruction projects - restoring schools, parks, roads, and

essential services - contributes significantly to community morale and

stability, helping to retain residents and providing a tangible sense of

recovery and forward momentum.

g.      In the context of the major disaster declarations impacting Colorado

over the past decade, the benefits derived from FEMA PA - restored

essential services, economically enabling infrastructure repairs, and

opportunities for enhanced resilience - were critical factors in the recovery

trajectory   of affected    communities,       especially   the   State's   rural

communities. Without access to the benefits provided by the PA program,

the necessary infrastructure restoration would have been severely delayed

or impossible, fundamentally hindering the overall recovery.




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Hazard Mitigation Grant Program

       80.     I am familiar with the Hazard Mitigation Grant Program (HMGP). After the

President makes a major disaster declaration, HMGP provides federal funding to States to develop

hazard mitigation plans and rebuild in a way that reduces future disaster losses in the communities

affected by the declared disaster.

       81.     HMPG funding is administered in Colorado by DHSEM.

       82.     Because HMPG grants are formula grants and not competitive grants, a State is

entitled to a specific allocation determined by regulation following a major disaster declaration.

       83.     In addition to using HMPG funds themselves, States may pass HMPG funds

through to subgrantees for the same purposes. Local governments as well as eligible private,

nonprofit organizations apply to DHSEM, which in tum sends applications on to FEMA for

approval.

       84.     DHSEM has eight open HMPG awards:

               a.      DR-4498: Award of$21,011,762.95;

               b.      DR-4731: Award of $3,713,732.11;

               C.      DR-4581: Award of $1,693,358.52;

               d.      FM-5423: Award of$187,359.83;

               e.      FM-5378: Award of $1,758,999.65;

               f.      DR-4634: Award of$11,386,722.59 ;

               g.      FM-5524: Award of $499,948.40; and

               h.      FM-5334: Award of $719,094.00.

       85.     DHSEM intends to apply again for HMPG funds whenever there is an eligible

major disaster or eligible fire declaration affecting Colorado, which could happen at any time.




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       86.     HMGP funds are invaluable to local mitigation actions and planning efforts to

reduce or eliminate the long-term risk to people, property, and infrastructure from natural hazards.

One example of this is the City of Colorado Springs' Palmer Park Channel Stabilization Project

under HMGP 4 731- the presidentially-declared disaster in August 2023. The project will protect

public infrastructure from a 100-year flood event, including Colorado Springs Utilities gas, water,

sanitary, and electric lines as well as the City's Space Village Drive. It will prevent costly repairs

and service losses. This includes, in the event of an emergency, an estimated one-day loss of water

and electric services, five days of gas and sanitary service losses to install a temporary bypass, and

twelve months to design and repair a 30-inch sanitary sewer main line and Space Village Drive.

This project has a total cost of $5.7 million ($4.29 million federal, $714,000 state, and $714,000

local) and provides over $ I 5.4 million of benefits, a return on investment of 2.7: l. Another

example project is the Loveland Fire Rescue Authority's Hazardous Fuels Reduction project under

HMGP Post-Fire 5524, the FEMA-declared Fire Management Assistance Grant of 2024. This area

suffered some damage during the Cameron Peak Fire and revealed greater potential losses in the

area to wildfire. This project will reduce hazardous fuels along 47 miles of critical road

infrastructure and adjacent private properties to provide a safer environment for thousands of

residents and businesses. It will also protect critical community infrastructure, including: 41 dams,

35 schools, 15 fire and EMS stations, 4 hospitals, 4 power plants, 3 wastewater treatment plants,

and a water treatment plant. This project has a total cost of $1.5 million ($1.14 million federal,

$190 thousand state, and $190 thousand local) and provides over $7 million of benefits, a return

on investment of $4.57 in savings for every $1.00 invested.

    IV. Harms To The State Caused By DHS's Funding Conditions

        87.    On March 27, 2025, the federal Department of Homeland Security (OHS) posted a

new version of its Standard Terms and Conditions applicable to new federal awards ratified in


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FFY 2025. Because FEMA is a component of DHS, these new Standard Terms would apply to

any grant agreement executed under the programs described above.

        88.     The 2025 Standard Terms and Conditions include a new Section IX titled

''Communication and Cooperation with the Department of Homeland Security and Immigration

Officials." The new Section IX seeks certain commitments not only from all "recipients," but also

from "other recipients of funds under this award," which would include all the units of local

government and nonprofit organizations who might be sub-grantees of DHSEM.

        89.     Among other things, the new Section IX purports to require grantees and sub-

grantees to "honor requests for cooperation, such as participation in joint operations, sharing of

information, or requests for short term detention of an alien pursuant to a valid detainer" and not

to "leak or otherwise publicize the existence of an immigration enforcement operation."

        90.     I understand that DHSEM is unable to comply with the federal government's new

funding conditions.

        91.     Even if it were able to comply, DHSEM would be required to monitor compliance

with OHS 's new conditions as to all its many sub-grantees of DHSEM awards. Currently, DHSEM

has approximately 250 subrecipients with active projects. Although DHSEM does not have the

funds, DHSEM would have to hire additional personnel to determine whether it is possible to

monitor compliance with the new funding conditions, and how such monitoring will take place, as

well as additional personnel to conduct such monitoring on an ongoing basis.

        92.     In the event DHSEM is unable to comply with the federal government's new

funding conditions, Colorado would be unable to receive FY2025 FEMA funds, depriving the

State of over $27 million in annual funds, frustrating its ability to fulfill all of the crucial functions

detailed above and jeopardizing public safety throughout Colorado. DHSEM would also be unable




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to access disaster relief funds for any future disasters. As noted above, since 2013, FEMA has

obligated over $2.6 billion in disaster relief funds, including critical funding for Colorado

communities to recover after catastrophic storms and wildfires, activity that typically intensifies

during the upcoming summer months.

       93.     The Homeland Security Grant Program funds police, fire, emergency services, and

public works mutual aid organizations. See supra 11 14-22. These organizations rely on Homeland

Security Grant Program funding for their operating budgets and would be forced to significantly

diminish operations if FEMA cuts off funding.

       94.     The Emergency Management Performance Grant program funds the salaries of

state and local emergency management staff as well as equipment and facilities. See supra 11 33-

41. Local emergency management agencies in Colorado could be shut down if EMPG funding is

discontinued. These local emergency management agencies are the first line of defense during a

disaster. At the state level, DHSEM operations could likewise be decimated, leaving no state entity

to coordinate disaster response.

       95.     The Nonprofit Security Grant Program funds critical security measures for

hundreds of nonprofit organizations like houses of worship, private schools, community

organizations, and hospitals. See supra 11 42-49. These organizations generally lack any other

source of funds to implement such measures absent FEMA funding, and the work will not be

completed. A cut-off of funds would significantly hinder efforts to safeguard these vulnerable

faith-based and civic organizations during a period of heightened risk of violent domestic

extremism.

       96.     The Homeland Security Grant Program - Urban Areas Security initiative enhances

the Colorado Information and Analysis Center (CIAC) capabilities within high-risk urban areas,




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particularly through the Cyber Unit, which delivers critical services including cybersecurity

vulnerability assessments, security-awareness training, and cyber-incident response support to

local governments and essential infrastructure partners, and through the CIAC's Watch Center

operations, which ensures continuous, real-time monitoring and dissemination of critical threat

information. See supra 1 32. These functions are heavily reliant on FEMA funds, so their

termination could leave the Denver metropolitan area vulnerable during a disaster.

       97.     The State and Local Cybersecurity Grant Program provides funding to help local

governments strengthen their cyber defenses. See supra 11 50-57. There is no substitute stream of

funding ifSLCGP dollars are cut off. The discontinuation of SLCGP funding would immediately

hamper efforts to safeguard local governments against cybersecurity attacks from both criminal

actors and hostile nation-states

       98.     Public Assistance and Hazard Mitigation grants provide crucial support to state and

local governments and individuals in the wake of a presidentially declared major disaster. See

supra 1 71-86. The denial of such funding to Colorado would severely hamper the ability of

Colorado communities to recover from the next natural disaster, which could come at any time.

       99.     The State does not have the budgetary resources or flexibility to make up for the

       lost funding should it be unable to apply for and receive FFY 25 grants.




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I declare under penalty of perjury that the foregoing is true and correct.

                               Executed this 13th day of May, 2025, in Centennial,

                               Colorado.




                               Michael Haney
                               Director, Office Grants Management
                               Colorado Division of Homeland Security and Emergency
                                  Management




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